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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



JANE DOE,
                               Plaintiff,                    Index No. 1:20-cv-00484-JGK-DCF
                 v.

DARREN K. INDYKE AND RICHARD D. KAHN,
in their capacities as executors of the ESTATE OF
JEFFREY E. EPSTEIN, GHISLAINE
MAXWELL, an individual,
                               Defendants.



    STIPULATED CONFIDENTIALITY AGREEMENT AND PROTECTIVE ORDER

       WHEREAS, Plaintiff Jane Doe, Defendants Darren K. Indyke and Richard D. Kahn, Co-

Executors of the Estate of Jeffrey E. Epstein, and Defendant Ghislaine Maxwell (collectively, the

“Parties” and each individually, a “Party”) request that this Court issue a protective order pursuant

to Federal Rule of Civil Procedure 26(c) to protect the confidentiality of nonpublic and sensitive

information that they may need to disclose in connection with discovery in this action;

         WHEREAS, the Parties, through counsel, agree to the following terms; and

         WHEREAS, this Court finds that good cause exists for issuance of an appropriately

 tailored confidentiality order governing the pretrial phase of this action;

         IT IS HEREBY ORDERED that the Parties to this action, their respective agents,

 employees, and attorneys, any other person in active concert or participation with any of the

 foregoing, and all other persons with actual notice of this Order will adhere to the following

 terms, upon pain of contempt:
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       1.       “Producing Party” shall mean the parties to this action and any third parties

producing Confidential Information.

       2.       “Receiving Party” shall mean the party to this action and/or any non-party

receiving Confidential Information.

       3.       With respect to “Discovery Material” (i.e., documents, depositions and

deposition exhibits, information or tangible things of any kind produced or disclosed in the course

of discovery in this action) that a Producing Party has designated as “Confidential” pursuant to

this Order, no Receiving Party may disclose such Confidential Discovery Material to anyone else

except as expressly permitted hereunder.

       4.       The Producing Party may designate as Confidential only the portion of such

material that it reasonably and in good faith believes consists of information whose public release

would violate common law and statutory privacy interests, including without limitation,

information concerning:

                (a) medical, mental health and/or other psychological conditions;

                (b) medical or psychological treatment;

                (c) other health care records;

                (d) use of controlled substances;

                (e) consensual or non-consensual sexual activity, sexual contact, or alleged sexual

                abuse;

                (f) education records;

                (g) email addresses, home addresses, Social Security numbers, personal telephone

                numbers, tax returns, and credit and banking information of any person, or similarly

                personally identifying information for parties and third-party witnesses;
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                 (h) names of alleged minor victims of sexual abuse;

                 (i) any information subject to N.Y. Civil Rights Law §§ 50 or 51;

                 (j) previously non-disclosed financial information including personal financial

                 information;

                 (k) non-public information that the producing person in good faith considers to

                 be, reflect, or reveal business, marketing, financial, or regulatory information or

                 data, or information of commercial value, including, without limitation, trade

                 secrets, contracts with third parties, or other information required by law or

                 agreement to be kept confidential; and

                 (l) any other category of information given confidential status by this Court or a

                 Court of competent jurisdiction to include the tort of publication of private facts.

       5.        With respect to the Confidential portion of any Discovery Material other

than deposition transcripts and exhibits, the Producing Party or its counsel may designate

such portion as “Confidential” by: (a) stamping or otherwise clearly marking as

“Confidential” the protected portion in a manner that will not interfere with legibility or

audibility; and (b) producing for future public use another copy of said Discovery Material

with the confidential information redacted.

       6.        A Producing Party or its counsel may designate deposition exhibits or portions

of deposition transcripts as Confidential Discovery Material either by: (a) indicating on the

record during the deposition that a question calls for Confidential information, in which case the

reporter will bind the transcript of the designated testimony in a separate volume and mark it as

“Confidential Information Governed by Protective Order;” or (b) notifying the reporter and all

counsel of record, in writing, within 30 days after a deposition has concluded, of the specific
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pages and lines of the transcript that are to be designated “Confidential,” in which case all

counsel receiving the transcript will be responsible for marking the copies of

the designated transcript in their possession or under their control as directed by the Producing

Party or that person’s counsel. During the 30-day period following a deposition, all Parties will

treat the entire deposition transcript as if it had been designated Confidential.

        7.        If at any time before the termination of this action a Producing Party realizes

that it should have designated as Confidential some portion(s) of Discovery Material that it

previously produced without limitation, the Producing Party may so designate such material by

notifying all Parties in writing. Thereafter, the Receiving Party will treat such designated

portion(s) of the Discovery Material as Confidential. In addition, the Producing Party shall

provide each Receiving Party with replacement versions of such Discovery Material that bears

the “Confidential” designation within two business days of providing such notice.

       8.         Nothing contained in this Order will be construed: (a) as a waiver by a Party or

person of its right to object to any discovery request; (b) so as to prejudice a Party’s ability to

seek discovery in this or any other legal proceedings; nor to a Party’s ability to object to such

discovery; (c) as a waiver of any privilege or protection; or (c) as a ruling regarding the

admissibility at trial of any document, testimony, or other evidence.

       9.         Where a Producing Party has designated Discovery Material as Confidential,

the Receiving Party may disclose such information only to the following persons:

                  (a)the Parties to this action;

                  (b)counsel of record to the Parties, including any paralegal, clerical, or other

                  assistant that such counsel employs and assigns to this matter;
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          (c)outside vendors or service providers (such as copy-service providers and

          document-management consultants) that counsel hire and assign to this

          matter, provided such person has first executed a Non-Disclosure Agreement

          in the form annexed as Exhibit A hereto;

          (d) any mediator or arbitrator that the Parties engage in this matter or that

          this Court appoints, provided such person has first executed a Non-

          Disclosure Agreement in the form annexed as Exhibit A hereto;

          (e) as to any document, its author, its addressee, and any other person indicated

          on the face of the document as having received a copy;

          (f) any witness who counsel for a Party in good faith believes may be called to

          testify at trial or deposition in this action, and such person’s counsel, provided

          such person has first executed a Non-Disclosure Agreement in the form annexed

          as Exhibit A hereto;

          (g) any person a Party retains to serve as an expert witness or otherwise provide

          specialized advice to counsel in connection with this action, provided such person

          has first executed a Non-Disclosure Agreement in the form annexed as Exhibit

          A hereto;

          (h) stenographers engaged to transcribe depositions the Parties conduct in

          this action; and

          (i) this Court, including any appellate court, its support personnel, and

          court reporters.

    10.    Before disclosing any Confidential Discovery Material to any person referred to
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in subparagraphs 9(c), 9(d), 9(f), or 9(g) above, counsel must provide a copy of this Order to such

person, who must sign a Non-Disclosure Agreement in the form annexed as Exhibit A hereto stating

that he or she has read this Order and agrees to be bound by its terms. Said counsel must retain each

signed Non-Disclosure Agreement, hold it in escrow, and produce it to opposing counsel either

before such person is permitted to testify (at deposition or trial) or at the conclusion of the case

including any and all appeals, whichever comes first.

       11.       For the avoidance of doubt, nothing in Paragraph 9 shall impose any limitation

on the ability of a Producing Party to disclose its own Confidential Discovery Material; provided,

however, that nothing in this Section precludes an argument or judicial determination that, by

voluntarily disclosing its own Confidential Discovery Material outside this litigation, a Producing

Party has waived confidentiality claims over such materials. A Producing Party shall not be

required to obtain an executed Non-Disclosure Agreement from its own current or former

employees with respect to disclosure of its own Confidential Discovery Material.

         12.     This Order binds the Parties and certain others to treat as Confidential any

 Discovery Materials so classified. The Court has not, however, made any finding regarding the

 confidentiality of any Discovery Materials, and retains full discretion to determine whether to

 afford confidential treatment to any Discovery Material designated as Confidential hereunder.

 All persons are placed on notice that the Court is unlikely to seal or otherwise afford confidential

 treatment to any Discovery Material introduced into evidence at trial, even if such material has

 previously been sealed or designated as Confidential.

         13.     In filing Confidential Discovery Material with this Court, or filing portions of any

 pleadings, motions, or other papers that disclose such Confidential Discovery Material

 (“Confidential Court Submission”), the Parties shall publicly file a redacted copy of the
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 Confidential Court Submission via the Electronic Case Filing System. The Parties shall file an

 unredacted copy of the Confidential Court Submission under seal with the Clerk of this Court,

 and the Parties shall serve this Court and opposing counsel with unredacted courtesy copies of

 the Confidential Court Submission. Any Party that seeks to file Confidential Discovery Material

 under seal must file an application and supporting declaration justifying—on a particularized

 basis—the sealing of such documents. The parties should be aware that the Court will unseal

 documents if it is unable to make “specific, on the record findings . . . demonstrating that closure

 is essential to preserve higher values and is narrowly tailored to serve that interest.” Lugosch v.

 Pyramid Co. of Onondaga, 435 F.3d 110, 120 (2d Cir. 2006). Notwithstanding any other

 provision of this paragraph, if the parties stipulate that specific portions of a document are both

 confidential and immaterial to this lawsuit, a party may publicly file a version of the document

 with those confidential and immaterial portions redacted, and that party need not submit an

 unredacted version to the Court or file a motion to seal.

       14.       Any Party who objects to any designation of confidentiality may at any time

before the trial of this action serve upon counsel for the Producing Party a written notice stating

with particularity the grounds of the objection. If the Parties cannot reach agreement promptly,

counsel for all affected Parties will address their dispute to the Court by motion. The Party seeking

confidentiality shall bear the burden of establishing that the material at issue was properly

designated as confidential. The Parties shall treat the disputed materials as Confidential pending

the Court’s resolution of such motion.

         15.     Any Party who requests additional limits on disclosure (such as “attorneys’ eyes

 only” in extraordinary circumstances), may at any time before the trial of this action serve upon

 counsel for the recipient Parties a written notice stating with particularity the grounds of the
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 request. If the Parties cannot reach agreement promptly, counsel for all affected Parties will

 address their dispute to the Court.

         16.     Absent an Order from a court of competent jurisdiction, Recipients of Confidential

 Discovery Material under this Order may use such material solely for the prosecution and defense

 of this action and any appeals thereto, and not for any other purpose or in any other litigation

 proceeding, including in any criminal action that involves any of the parties to this action, either as

 witnesses, defendants or otherwise. Nothing contained in this Order, however, will affect or

 restrict the rights of any Party with respect to its own documents or information produced in this

 action. Nor shall anything contained in this Order prejudice a Party’s ability to seek discovery in

 this and any other legal proceedings, without prejudice to any other Party’s right to object to such

 discovery.

       17.       In the event that a party who has possession of Confidential Discovery Material

pursuant to the terms of this Order receives a subpoena or other compulsory legal process which

calls for the production of the Confidential materials, the person-in-possession shall respond that

the materials are not disclosable absent an Order of the Court and shall promptly notify the

Producing Party from whom they received the Confidential Discovery Material, and all other

Parties, of the subpoena or other compulsory process. Such notice must be provided within 3

business days of the receipt of the subpoena or other compulsory process. Upon receiving such

notice, the Producing Party or other Parties will bear the burden to oppose compliance with the

subpoena, other compulsory process, or other legal notice if the Producing Party or other Parties

deem it appropriate to do so.
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         18.    Each person who has access to Discovery Material designated as Confidential

 pursuant to this Order must take all reasonable precautions to prevent the unauthorized or

 inadvertent disclosure of such material.

         19.    If a Receiving Party receives documents or other materials that it has reason to

 believe are subject to a good faith claim of attorney-client privilege, work product protection,

 or other privilege or immunity from disclosure, the Receiving Party must refrain from

 examining the documents or other materials any more than is essential to ascertain whether

 the documents or other materials are reasonably subject to such a claim. The Receiving Party

 shall promptly notify the producing person in writing that the Receiving Party possesses

 documents or other material that appears to be privileged or otherwise protected from

 disclosure.

       20.      If, in connection with this litigation, a producing person inadvertently discloses

information that is subject to a claim of attorney-client privilege, attorney work product

protection, or any other privilege or immunity from disclosure (“Inadvertently Disclosed

Information”), such disclosure shall not constitute or be deemed a waiver or forfeiture of any

claim of privilege, work product protection, or other privilege or immunity from discovery with

respect to the Inadvertently Disclosed Information or its subject matter. In addition, a producing

person may use its own document (e.g., as a deposition exhibit) containing material that is subject

to a claim of privilege or immunity from disclosure for the purpose of establishing the basis of

such claim without waiver of any applicable privilege or immunity from disclosure, unless the

producing person affirmatively uses or relies upon the specific material contained in the document

that is subject to the claim of privilege or immunity from disclosure for any purpose other than

establishing the basis of such claim.
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        21.     If a producing person makes a claim of inadvertent disclosure, the Receiving

Party shall, within five business days, return or destroy all copies of the Inadvertently Disclosed

Information, and provide a certification of counsel that all such information has been returned

or destroyed, unless the Receiving Party seeks to dispute that the information is privileged or

otherwise protected as set forth below. Until the dispute is resolved or ruled upon, the Receiving

Party shall undertake to keep such information restricted solely for use in connection with the

dispute over the privilege or protection.

        22.     Within five business days after the notification that such Inadvertently Disclosed

Information has been returned or destroyed, the producing person shall produce a privilege log

with respect to the Inadvertently Disclosed Information.

        23.     The Receiving Party may move the Court for an Order compelling production of

the Inadvertently Disclosed Information. Pursuant to the parties’ obligations set forth herein, the

motion shall not quote or paraphrase the substance of the document subject to the motion to

compel beyond the description of the document contained in the privilege log entry for the

document. The motion shall be filed under seal, and shall not assert as a ground for entering such

an Order the fact or circumstances of the inadvertent production in this action.

        24.     The Producing Party retains the burden of establishing the privileged or

protected nature of any Inadvertently Disclosed Information. Nothing in this Order shall limit

the right of any Producing Party or Receiving Party to request an in camera review of the

Inadvertently Disclosed Information.

        25.     Unless the parties otherwise agree or a court of competent jurisdiction otherwise

orders, within 60 days of the final disposition of this action—including all appeals—all Receiving

Parties must either return Confidential Discovery Material—including all copies thereof—to the
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Producing Party, or destroy such material—including all copies thereof. In either event, by the 60-

day deadline, the Receiving Party must certify its return or destruction by submitting a written

certification to the Producing Party that affirms that it has not retained any copies, abstracts,

compilations, summaries, or other forms of reproducing or capturing any of the Confidential

Discovery Material. Notwithstanding the foregoing: (i) Discovery Materials that have been

received electronically and that cannot be returned or destroyed must be electronically deleted and

deleted from “trash” files, and the Receiving Party must take reasonable measures to ensure

that unauthorized persons do not have access to Confidential information residing on the

Receiving Party’s computer server and back-up media; and (ii) outside counsel for the parties are

permitted to retain one archival copy of all pleadings, motion papers, court filings made under

seal, transcripts, legal memoranda, correspondence, attorney work product, written discovery

responses, deposition and trial exhibits, and expert reports, even if such materials contain

Confidential Discovery Material, subject to a continuing obligation to protect information

designated Confidential pursuant to this Order.

         26.     This Order will survive the termination of the litigation and will continue to

be binding upon each Receiving Party.

         27.     This Court will retain jurisdiction over all persons subject to this Order to

the extent necessary to enforce any obligations arising hereunder or to impose sanctions for

any contempt thereof.
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 SO STIPULATED AND AGREED.


 HADDON, MORGAN &                                       PANISH SHEA & BOYLE LLP
 FOREMAN, P.C.

 /s/ ----------------------------------------------------/s/ ----------------------------------
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       Counsel for Defendant Ghislaine                        Counsel for Plaintiff Jane
       Doe Maxwell

 Dated: August ___, 2020                                Dated: August ___,

 2020 TROUTMAN PEPPER LLP


/s/
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       Counsel for Defendants Darren K. Indyke
       and Richard D. Kahn, Co-Executors of
       the Estate of Jeffrey E. Epstein

 Dated: August ___, 2020



 SO ORDERED.


 Dated:
 New York, New York                              DEBRA FREEMAN
                                                 United States Magistrate Judge
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                                                                                           Exhibit A
                                                                         to Stipulated Confidentiality
                                                                            Agreement and Protective
                                                                                               Order

                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



JANE DOE,
                               Plaintiff,                     Index No. 1:20-cv-00484-JGK-DCF
                v.

DARREN K. INDYKE AND RICHARD D. KAHN,
in their capacities as executors of the ESTATE OF
JEFFREY E. EPSTEIN, GHISLAINE
MAXWELL, an individual,
                               Defendants.



                              NON-DISCLOSURE AGREEMENT

        I, ______________________________ , acknowledge that I have read and understand

the Protective Order in this action governing the non-disclosure of those portions of Discovery

Material that have been designated as Confidential. I agree that I will not disclose such

Confidential Discovery Material to anyone other than for purposes of this litigation and that at

the conclusion of the litigation I will return all discovery information to the party or attorney

from whom I received it. By acknowledging these obligations under the Protective Order, I

understand that I am submitting myself to the jurisdiction of the United States District Court for

the Southern District of New York for the purpose of any issue or dispute arising hereunder and

that my willful violation of any term of the Protective Order could subject me to punishment

for contempt of Court.
                                                        Date:
